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A. JURISDICTION

Because federal courts cannot hear every kind of claim, you must identify the law that
says this court can hear your claim. There are two possibilities. Check one.

I can bring my complaint in federal court because I am suing:

   1.                   State, county or city employees for violating my federal rights
           under 42 U.S.C. Sec. 1983/1985/1986; OR

   2.                  Federal employees for violating my federal rights under Bivens v.
           Six Unknown Named Agents of Fed. Bureau of Narcotics, 403 U.S. 388 (1971)
           and 28 U.S.C. Sec. 1331.


B. PLAINTIFF (THE PERSON FILING THIS COMPLAINT)

   If there is more than one plaintiff, attach additional pages. Provide items a, b, and c
   for each plaintiff.

        1. First Plaintiff                         \.),\   Tivxtt
            a.    Full Name:

           b.    Inmate Number:           -Lc\CY-\-1-4

           c.    Correctional facility:

        2. Second Plaintiff
            a.  Full Name:

           b.    Inmate Number:

           c.    Correctional facility:


C. DEFENDANT (THE PERSON WHOSE ACTIONS YOU ARE COMPLAINING
   ABOUT)

   If you are suing more than one person, attach additional pages. Provide items a, b,
   and c for each defendant.

      1. First Defendant
          a.     Full Name:          GIA`      0-Nt\z iN   C-       N(   Q,   (X-- .z ,r,S
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      Case 3:18-cv-01249-CSH Document 1 Filed 07/26/18 Page 3 of 45




         b.    Rank or Title:

         c.    Workplace:

     2. Second Defendant
         a.   Full Name:

         b.    Rank or Title:

         c.    Workplace:

     3. Third Defendant
         a.    Full Name:

         b.    Rank or Title:

         c.    Workplace:

     4. Fourth Defendant
         a.    Full Name:

         b.    Rank or Title:

         c.    Workplace:

     5. Fifth Defendant
         a.     Full Name:

         b.    Rank or Title:

         c.    Workplace:

     6. Sixth Defendant
         a.    Full Name:

         b.    Rank or Title:

         c.    Workplace:


D. REASON FOR COMPLAINT

WARNING: Contact Inmate Legal Aid Program. Common mistakes can get your
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case dismissed as frivolous or for failure to state a good legal claim.            If this
happens, you will still have to pay the filing fee, even if you are proceeding in forma
pauperis. To avoid losing your filing fee, please read this information carefully and
consult Inmate Legal Aid Program before you file.

     1. Failure to use the prison grievance process before suing. If you have not followed
all the steps in the grievance process before you come to court, the defendants may ask
the Court to dismiss your claims for "failure to exhaust administrative remedies."

   2. Complaining about incidents that happened a long time ago: If you are suing about
events that happened more than three years ago, the defendants may ask the Court to
dismiss your case under the "statute of limitations."

     3. Suing people who were not personally involved: You can generally only sue
defendants who were directly involved in harming you. In order to sue a supervisor, you
must usually show that the supervisor knew about the actions of other defendants and
failed to stop them.

4. Suing defendants who have immunity to suit for money damages: You generally
cannot sue the following people and entities for money damages: the State of
Connecticut; agencies of the state (like the Department of Correction); the United States
government; the President of the United States (for actions taken while President); judges
(for actions taken in connection with judicial duties); parole board officers (for actions
taken in imposing parole conditions or revoking parole); prosecutors (for actions taken in
performing duties integral to the criminal judicial process). If you think you have a claim
for money damages against such people or entities, check with Inmate Legal Aid Program
first. If you name defendants who are immune to suit from money damages and your
suit is dismissed on that basis, you will lose your filing fee.

   5. Complaining about a criminal conviction or prison disciplinary proceeding that
resulted in loss of good time credits or other change to your time in prison. If winning
your claims "would necessarily imply the invalidity" of a criminal conviction or prison
disciplinary punishment affecting the time served, then you cannot make these claims
under Section 1983 unless you have already had the conviction or prison disciplinary
proceeding invalidated, for example through a habeas proceeding. See Heck v.
Humphrey, 512 U.S. 477, 487 (1994).

Please note that this is not a complete list of the problems you might encounter with your
case. The Court cannot give you legal advice and will not appoint a lawyer for you until
it is clear that you have a good legal claim. Until then, your best strategy is to call the
Inmate Legal Aid Program before you file a complaint. If Inmate Legal Aid Program says
you do not have a good case, you should consider that advice very seriously.

Now you need to explain how your federal rights were violated (remember that not every
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violation of state law or prison regulations amounts to a violation of federal law). What
you need to tell the Court is who did what, when they did it, and how you were harmed.

You do not need to cite to the Constitution, any statutes, or any cases. However, it is
important to be specific about dates, times, and the names of the people involved. It is
helpful to put each important fact in a separate, numbered paragraph.

If you do not know the name of the person who harmed you, call that person Defendant
Doe and provide some information from which it will be possible to identify the person -
for example, gender, rank and shift. If there is more than one defendant whose name
you do not know, call them Defendant Doe1, Defendant Doe2, and so on.

Here is an example of the proper way to describe your claims:

Example of Statement of Case
1. On April 12, 2015, I fell and injured my foot during a basketball game with other
prisoners.
2. After the game, I asked Defendant CO Brian Smith to let me see the nurse. Defendant
CO Brian Smith told me that I could not see the nurse because it was not an emergency.
3. During the afternoon, my foot became swollen and very painful.
4. At about 5 p.m., in the presence of my cellmate Bill Bloggs, I told Defendant Lieutenant
Jane Doe, who was the shift supervisor, that I needed a doctor and showed her my
swollen foot.
5. Defendant Lieutenant Jane Doe brought me two Tylenol and told me that I could not
see the nurse until sick call the next morning.
6. The next day, I could not get out of bed because my foot was so swollen and painful. I
had to go to hospital and have an operation to fix my foot.
7. I had to take pain medication for two months after the operation and have needed a
walking stick for support since that time.
Now describe your claims.

Statement of Case
1.




2.



3.



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4.




5.



6.



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8.




9.




10.




If you need more space, attach additional pages, but be as brief as possible.

E.     REQUEST FOR RELIEF
Tell the court what kind of relief you want. Remember: (1) You can only get money
damages for mental or emotional injury if you were also physically injured; (2) Money
damages may be reduced to pay restitution to victims of your crime and fees for a court-
appointed attorney, if you had one; (3) You cannot use a Section 1983 or Bivens action
to request release from custody, a reduction in your sentence, or a restoration of good
time credits. For any of these, you must request a Writ of Habeas Corpus.




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F.     DO YOU WISH TO HAVE A JURY TRIAL? YES                           NO

G.     DECLARATION UNDER PENALTY OF PERJURY

Warning: You must sign this or your complaint will not be filed.

By signing this complaint, I certify under penalty of perjury that the information contained
in this complaint is true and accurate to the best of my knowledge. I understand that if I
lie in this complaint, I may be prosecuted for perjury, and punished with as much as five
(5) years in prison and/or a fine of $250,000. See 18 U.S.C. Sections 1621, 3571.


Signature:

Signed at                                                    737   :



                                (Location)                             (Date)


If there are additional plaintiffs, attach another page with the name and signature of each
plaintiff on it. The complaint cannot be filed without a signature from each plaintiff.

H.     FINAL INSTRUCTIONS

WARNING: Your complaint will not be filed unless you complete each of these steps:

       1.      Answer all questions on the complaint form.

      2.       Sign the Declaration under Penalty of Perjury on p. 7

Remember, the Clerk cannot file your complaint unless you take all of the steps above.




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                                             Medical Incident Report                                                   CN 6602
                                         Connecticut Department of Correction                                       REV 7/20/15


Facility/Unit:   NHCC                                          Report date:11/21/2015 Time:4:10                    am      f pm

Name of patient:      ELMASSRI, ANDREW                                        Inmate number (if applicable):290729

Medical staff name:.         GOODE,- RN
Incident report submitted:      (yes      ❑no       Report number: tAttcc.„....c, t.c .1 x _cox Date: 1 t I .zz.,(1.5.

Treatment location:     CHARLIE CENTER CORRIDOR
Injury description:
                       1 cm superficial laceration distal to left eye; no other injuries noted/reported.




Assessment:
                 Alert and oriented x 4; denies acute distress, homicidal/suicidal ideations, auditory or visual
                 hallucinations, or any other medical complaints not within normal limits of direct exposure to
                 OC Agent; bilateral wrist (cuff) checks normal and within normal limits; positive range of
                 motion and circulation/sensation noted distal to handcuff placement.
Treatment administered:
                            Observed satisfactory I/M OC Agent decontamination in shower prior to placement
                            in RHU; no other treatment required at this time.


Required follow up:
                  -

                        None at this time; I/M aware of proper procedures to access medical and mental health
                        services.


Observations/remarks:
                           I/M placed in RHU without further medical incident.




Chemical agent review prior to planned use of force:
The offender's health record was reviewed prior to planned use of force. There were no contraindications noted regarding or
precluding the use of chemical agents (I.e. history of cardiac or respiratory condition, eye condition under active treatment, or
documented prior severe and unexpected reaction to chemical agents).
Known contraindications based on review of health record?              yes   Do


❑
Placement after treatment:
    Inmate is cleared for General Population Placement             ✓ Inmate is cleared for Restrictive Housing Placement
    Inmate is not cleared for Restrictive Housing Placement       a  Other (specify):

Patient signature:     I/M unable to sign                                                         Date:11/26/2015

Medical staff signatureilli ../                   ./                                              Date:11/26/2015
                                                         ",




Custody supervisor signature:                                                                     Date:11/26/2015
                                                                                  .>
                       Case 3:18-cv-01249-CSH Document 1 Filed 07/26/18 Page 18 of 45



                                 Supervisor Video Recording Review                                      CN 6902
            . ,,_ ir                                                                                  REV 8/15/14
    71.-i                            Connecticut Department of Correction

  Facility/Unit: New Haven Correctional Center                                           Date: 11-26-15

 Event recorded: RHU Placement
 Unit Tracking Number: NHCC-VID-15-629A                     Incident Report Number: NHCC-2015-11-055
 Media type:           ❑ Videotape   ❑ Compact Disc     r DVD        ❑ Other
 Inmate name(s):                                                                         Inmate number(s):
 Elmassri, Andrew                                                                        290729




 Comments:




 Before Action Procedures
    Sign-on procedure:                   I   Yes   ❑ No       Camera Operator: C/O A. Mazzonna
    Supervisor's prelude:                CI Yes    ❑ No       Supervisor: LT. Lewis
    Cell extraction team introduction:   ❑ Yes     r   No
Quality of Video Coverage
    Is event in focus?                   F Yes     ❑ No
    Obstructions or breaks in video coverage (explain): Yes
    Camera #1 was low on memory and had to be exchanged with another camera.


After Action Procedures
    Supervisor's epilogue:               ►   Yes
    Sign-off procedure:                  ►' Yes    ❑ No
    Video labeling:                      ► 4 Yes   ❑ No
    Chain of custody completed? .        ' Yes     ❑ No
     All deficiencies shall be documented in the summary portion of the incident report package, to include
                                        resolution and recommendations.
Additional Comments:




Reviewed by.             Cacaojiiii(                Title: Lieutenant                    Date: 11/26/15
                             Case 3:18-cv-01249-CSH Document 1 Filed 07/26/18 Page 19 of 45

              • ,
             -c,
                                                              Incident Report- Page 1                                                                               CN 6601/1
              • ,- . . 4,                                                                                                                                          REV 7/20/15
                                                        Connecticut Department of Correction
         ---1-.1, ,,, 6"--

   6,1 Facility/Unit New Haven Correctional Center                                         ❑ Parole Office/Unit:               Ki14

   Date: 11/26/2015                               Time:      LI ; (c,           Am 411p.                        Report Number: tAtitc_c__                   1/4s _ t t ..,:::).5s

  Incident Class: ❑           1a       2 ■ 3             Type:E"                Incident Location: Charlie center dayroom

  Prepared By: Streat,111111.                                                                                                     Title: Correction Officer
    inmate Name (Last & First)              ID Number       Race        Housing         Status                  Staff Name (Last & First)          Race          Title      Status

  Casanova-Adorno,                      406405                H       C-C-09              S          Streets.                                     W'             C/O         RPE

  Elmassri, Andrew                          290729           W        C-C-02              S        Coe. 01: ,                           _.                      c--1—           RS

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                                                                           Status and Race Codes
       V (Victim), S (Suspect), RPE (Reporting Employee), IW (Inmate Witness), EW (Errployee less), RSE (Responding Employee), RS (Responding Supervisor) ..
                                                 A (Asian), B (Black), H (Hispanic), N (Native American), W (White), 0 (Other)
                                                                        II
 Narrative:                                                             ;C.
 On November 26, 2015, at approximately 4:10 pm, I, Officer Streat was in the Charlie unit officer's bubble, when this officer
 witnessed inmate Elmassri, Andrew #290729 and inmate Casanova-AdOrno,                                            ow
                                                                                     #406405, in a physical altercation in the
 center dayroom during the units chow time. This officer witnessed inmate Elmassri close fist strike inmate Casanova-Adorno
 multiple times, and both inmates pushing each other. This officer called a code alb and responding staff responded to the
 unit. Chemical agent was deployed, and both inmates were separated, and escorted out of the unit
                                                                                                     .1




                                        •

Reporting Employee. Signature:                            Aft—                                                            Title: Correction Officer

Report Date: 11/26/2015                          Report Time: 5:00                       am                 ►     pm      Type:     I        Individual ❑ Summary
                                                                            FOLLOW-UP
Property damage:             ❑ yes     Et   no     - Description:         4A                                                                     Value $:        Nalha
                                                                                                                                                                     r--%

Contraband recovered:            ❑ yes       I no         - Description:         to fik

Physical force used: Eyes ❑ no                            Chemical agents used: E' yes ❑ no                                  Restraints used:         e yes          ❑     no

                       fEr' Administrative Detention                      ❑      Medical                          ❑     Staggered Observation
Assigned to:           ❑      Protective Custody                          ❑      Outside hospital:
                       ❑      Other:
                                Case 3:18-cv-01249-CSH Document 1 Filed 07/26/18 Page 20 of 45


                                                                       Incident Report - Page 2                                                                                               CN 6601721
            ,       -                                           Connecticut Department of Correction                                                                                         REV 7/20/15

                                                                                            NOTIFICATIONS
  Duty Officer.                 Deputy Warden lMarmora                                                            Date:     11/26/2015                   Time:       5:50                ■ am 0 pm
  Unit Administrator:                                                                                             Date:                                  Time:                           ❑ am ❑ pm

  District Administrator.                                                                                         Date:                                  Time:                           ❑ am ❑ pm

  Deputy Commissioner:                                                                                            Date:                                  Time:                           ❑ am ❑ pm

  Commissioner:                                                                                               Date:                                      Time:                           ❑ am ❑ pm

  Central Office:                                                                                             Date:                                      Time:                           ❑ am ❑ pm

  Outside Agency:                                                                                             Date:                                      Time:                           ❑ am ❑ pm

  Police/Fire:                                                                                                Date:                                      Time:                           ❑ am       ■ pm
  Public Information Officer:                                                                                 Date:                                      Time:                           ❑ am ❑ pm

  CISRP Coordinator:                                                                                          Date:                                      Time:                           ■ am ■ pm
                                                  CRIMINAL PROSECUTION
  If a staff member was assaulted during the incident, is criminal prosecution requested?                                                                    ❑      YES         ❑            NO
                                                              Connecticut State Police investigation number                                       et) /14
                                                                                                  REVIEWS
  Supervisor: at/ //-AL-/S 4'o isiffsgo                                         5771209-7- 1,0r71.-/ecjEo                        .2..p4 15 C/9- 55avoi/i9 -1106Q/1/44o 7:6<k.‘,40 -41„1/z3
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 Signature:                                                                                                 Title:                                                         Date:
                      Case 3:18-cv-01249-CSH Document 1 Filed 07/26/18 Page 21 of 45


                                        Incident Report — Supplemental Page                                                         CN 6601
                                                   Connecticut Department of Correction                                            REV 7/20/15


 Report Number: NHCC-2015-11-055                                                                     Page          3          of     /(

  ►'1 Facility/Unit: NHCC                                                   ❑ Parole Office/Unit: N/A

 Date: 11/26/2015                    Time: 4:10              ❑ am 0 pm       Incident Class: ❑ 1 0 2 ❑ 3                    Type: E

 Incident Location: Charlie Unit Center Dayroom

 Prepared By: 111111Cacioli                                                    Title:   Lieutenant
 Narrative:
 At 4:10pm on 11/26/2015 Officer.. Street was inside the Charlie unit officer bubble, when she witnessed inmates Casanova-Adorns
              06405 and Elmassri, Andrew #290729 exchanging closed fist strikes and pushing each other in the Charlie unit Center Dayroom.
 calle illia1todefele over her hand held radio.

 I, Lieutenant       Cacioli, responded with Lieutenant        Williams and         Lewis. All three responding supervisors gave multiple loud
 concise verbal commands to stop fighting. Neither inma e followed the commands. Lieutenant Lewis deployed chemical agent (41111111111111111
4111/111othrough the dayroom trap which did not cause the inmates to cease their combative actions. As the dayroom sliding door opened, all three
 supervisors continued to give loud concise verbal commands to stop fighting. Again, neither inmate complied. Both myself and Lieutenant
 Lewis deployed chemical agent to the facial areas of the Inmates, which caused them o sto fighting. Both inmates were directed to the lay
down on the dayroom floor. I applied handcuffs on inmate Casanova-A rno. Officer Harris assisted Inmate Casanova-Adomo to his
feet and I directed him out of the dayroom to the unit entrance. Officer       Patterson signed on the hand held video camera. Officer
Corley took an escort position on the inmate's right hand side, with Officer Harris on the left. RN Teng completed a medical and
mental health evaluation, noting no Injuries. He was cleared for placement In the restrictive housing unit. He was escorted to the Foxtrot unit
Center corridor, where he was placed in the unit shower for decontamination from chemical agent exposure. After he was decontaminated he
was escorted to Foxtrot Center #6. Officer Harris removed the handcuffs and conducted a routine strip search, with negative findings. Inmate
Casanova-Adomo was Issued clean undergarments and a red jumpsuit and secured without further Incident.

 Lieutenant Williams, with the assistance of officer...NO Hebert, applied handcuffs on inmate Elmassri. Officer amMazzona signed
on to the hand held video camera. Lieutenant Williams directed Officer Hebert and111111. McGivney to escort inmate amassrl out of the
dayroom to the center corridor. He was relieved by Lieutenant Lewis, due to chemical agent exposure. Lieutenant Lewis directed staff to escort
inmate Elmassri to the center corridor shower where he was decontaminated from chemical agent exposure. After he was decontaminated, RN
am        Goode completed a medical and mental health evaluation, noting a superficial laceration under inmates Emassri's right eye. He was
cleared for placement in the restrictive housing unit. Officer Hebert (left side) and Officer McGivney (right side) escorted inmate Elmassri tc
Foxtrot unit Center #1. Officer Hebert removed the handcuffs and conducted a routine strip search, with negative findings. Inmate Elmassri was
issued clean undergarments and a red jumpsuit and secured without further Incident. I cleared the code at approximately 4:26pm.

Both inmates were provided with inmate statement forms. Both inmates wrote that the other inmate threw the first punch. Inmate Elmassri
verbally communicated to Lieutenant Lewis that he feels the Spanish inmates run the corridor and that Casanova told him he would have to wait
to use the shower. Both inmates signed waiver of outside charges forms. A Separation Profile Entry was completed and submitted to
Counselor Supervisor411111100 Roach.

 5 of the Inmates in the dayroom during the Incident were provided with inmate statement forms: 11111111111•11 ■          P 0111•11111111101110
.1111111.1121110111 10 ands claimed they did not know or see anything. 41111111011111.11•11.11111111210claims the fight was over the shower.

Lieutenant Lewis spoke with the Inmates in the dayroom during the incident and all declined medical attention due to exposure to chemical
agent. The dayroom and corridor were cleaned by the unit detail workers.

Officer Harris inventoried and packed the property for both inmates and completed property matrix forms.

Control Center Officer Sweat submitted a 7300 Informational Log.

The video evidence (NHCCVID-15-629 A & B) was logged and dropped into the video storage box.

No staff injuries reported with this Incident.

Note: That this is the second Codealbin Charlie unit Center Dayroom in 24 hours

Duty Officer Deputy Warden Stacey Marmora was notified ate, a             the situation at approximately 5:50pm.


Reporting Employee Signature: _Caci                                                                 Title: Lieutenant

Report Date: 11/26/2015                          Report Ti     10:00   ❑ am El pm               Type: ❑ Individual Eg Summary
                    Case 3:18-cv-01249-CSH Document 1 Filed 07/26/18 Page 22 of 45


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   -iirr.   . Ji•                  Connecticut Department of Correction                                 REV 7/20/15


 Report Number: NHCC-2015-11-055                                                Page      1-I      of     /1
    Facility/Unit: New Haven Correctional Center            ❑ Parole Office/Unit:

 Date: 11/26/15            Time: 4:10     ❑ am I pm         Incident Class: ❑ 1        2 ❑ 3       Type: E

 Incident Location: Charlie Center Dayroom

 Prepared By:          Williams                               Title:   Lieutenant
 Narrative:
On 11/26/15 at approximately 4:10pm a Code.'lawas called in Charlie Center Dayroom by C/O           me
Streat. This Lieutenant responded with staff, upon arrival this Lieutenant observed I/M's Elmassri, Andrew
#290729 and Casanova-Adomo,11111.16#406405 exchanging closed fist strikes to the upper torso of each
other. This Lieutenant gave several verbal commands to stop fighting and to separate while awaiting the doors
to open to enter Charlie Center Dayroom. Both I/M's ignored all verbal commands and continued to fight. When
the Charlie Dayroom door opened this Lieutenant entered and Chemical Agent was deployed on I/M's Elmassri
and Casanova by LieutenantsalliCacioli and       amp          Lewis at which time I/M's Elassri and Casanova
separated. This Lieutenant gave l/M Elmassri verbal direction to lay on the ground in which he complied. This
Lieutenant then placed wrist restraints on UM Elmassri's left wrist and C/O Wage* Hebert placed his right
wrist in the wrist restraints the secured his left side as this Lieutenant secured his right side. This Lieutenant
and C/O Hebert then assisted UM Elmassri onto his feet and secured him to the wall. C/O soft McGivney
then secured I/M Elmassri's right side. Under my direction C/0.111111. Mazzonna logged on and operated the
video camera (tracking #NHCC-VID-15-629A) I/M Elmassri was then escorted out of the affected area and
secured against the wall In Charlie Center Corridor. Lieutenant Lewis then relieved this Lieutenant due to
chemical agent exposure and assumed supervision of I/M Elmassri.

Minimal force was witnessed by this Lieutenant of I/M's Casanova and Elmassri being sprayed by chemical
agent. No staff injuries were reported in this incident.




Reporting Employee Signature: 1111111Williams                                  Title: Lieutenant

Report Date: 11/26/15             Repome:                  am I pm          Type:       Individual ❑ Summary
                     Case 3:18-cv-01249-CSH Document 1 Filed 07/26/18 Page 23 of 45



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                                   incident Report — Supplemental Page
                                         Connecticut Department of Correction
                                                                                                              CN 6601/3
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, Report Number: NHCC-2015-11-055                                                    Page     E         of      I, 1
 c■ Facility/Unit: New Haven Correctional Center                ❑ Parole Office/Unit: N/A
 Date: 11/26/2015                Time: 4:10    ❑ am r pm        Incident Class: ❑       ■
                                                                                      1 ,2 2 ❑ 3        Type: E
 Incident Location: Charlie Center Dayroom
   Prepared By: 11111011Lewis                                     Title: Lieutenant
  Narrative:
      On November 26, 2015, at approximately 4:10p.m., this writer (Lieutenant OM Lewis) responded to a
  Code Mb called in Charlie Unit center dayroom by Officerall.Streat. Upon my arrival, inmates Casanova-
  Adomo,11111111110406405 and Elmassrl, And rew #290729 were actively engaged in air            lysical altercation
  both throwing closed fist punches. At this time this writer, Lieutenants .' Cacioli and          Williams issued
  loud clear and concise verbal directions for both inmates Elmassri and Casanova-Adomo to stop fighting. Both
  inmates Elmassri and Casanova-Adorno continued their combative actions. This writer deployed chemical
  agent 1.11111.1.11through the dayroom trap to their facial areas, but did not stop either inmate's actions.
  This writer, Lieutenants Cacioli and Williams entered the dayroom and Lieutenant Cacioli and this writer
 deployed chemical agent again. At this time the chemical agent achieved its desired affect, and both inmates
 Elmassri and Casanova-Adorno ceased their combative actions.
      Both inmates Elmassri and Casanova-Adorno were directed to lay on the floor and place their hands behind
 their backs which they complied. Lieutenant Cacioli placed wrist restraints on inmate Casanova-Adorno and
 Lieutenant Williams and Officer Christopher Hebert placed wrist restraints on inmate Elmassri and Officer
 Hebert assumed control of his left side. Officer           Harris assisted Casanova-Adorno to his feet, and
 escorted him out of the affected area. Officer             McGivney entered the dayroom and secured inmate
 Elmassri's right side. Lieutenant Williams directed OfficeraINIMMazzonna to sign on the hand held camera,
 and Officers Hebert and McGivney to escort inmate Elmassrl out of the affected area to the center corridor. At
this time due to chemical agent exposure, this writer relieved Lieutenant Williams for the remainder of the
 incident.
     Inmate Elmassri was decontaminated in the center corridor shower in Charlie Unit. Once the
decontamination process was completed, inmate Elmassri was evaluated by RN MO Goode and cleared for
 Restrictive Housing (RHU) placement. Inmate Elmassri was escorted from Charlie Unit to RHU and into FC-01.
Officer Hebert removed the wrist restraints, and conducted a routine RHU strip search, which resulted in zero
findings. Inmate Elmassri's decontaminated tee shirt was discarded. This writer directed Officers Hebert and
McGivney to exit the cell. Inmate Elmassri was secured in FC-01 without further incident.
    This writer interviewed inmate Elmassri during the escort. When asked what the fight was over, inmate
Elmassri said that the Spanish inmates feel like they run that particular corridor, and that inmate Casanova-
Adorno told him he had to wait for the shower.. Then they both stood up and began to fight. This appears to be
an isolated incident, but it should be noted that this was the second fight in Charlie Unit within the last 24 hours.
Also both fights                         took place in the center dayroom.
     The Charlie ni center dayroom and corridor was decontaminated, and this writer asked all inmates
assigned to the center corridor if they needed medical attention due to chemical agent exposure. The entire
corridor stated that they were fine, and didn't need medical attention.

No staff injuries to report. No inmate injuries to report.




Reporting Employee Signature: 11.11,Lewis                                           Title: Lieutenant

Report Date:        11/26/2015        Report Time: 8:30      ❑ am ►I1 pm      Type:         1 Individual ❑ Summary
                Case 3:18-cv-01249-CSH Document 1 Filed 07/26/18 Page 24 of 45


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    -..-.,,                         Connecticut Department of Correction                                    REV 7/20/15


 Report number: NHCC-2015-11-065                                                   Page       tz,      of     1i
     Facility/Unit: NHCC                                       ❑ Parole Office/Unit: N/A

 Date : 11/26/15           Time: 4:10.     Dam ►4 pm           Incident class: ❑ 1     is   2 ❑ 3    Type: E.

 Incident location: Charlie Unit Center Dayroom

 Prepared by: Hebert,     ON                                    Title:   Correction Officer
 Narrative:
             On November 26, 2015 at approximately 4:10 PM I officer Hebert responded to a Code SW in
 Charlie Unit center dayroom. Upon arrival to the unit this officer witnessed Inmate Elmassri, Andrew #290729
 and Inmate Casanova-Adorno # 406405 involved in a physical altercation. Staff gave verbal direction to
 separate which both inmates failed to comply and chemical agent was utilized. This officer secured the left side
 of Inmate Elmassri and assisted staff with placing him in wrist restraints. Under the direction of Lt. Lewis I/M
 Elmassri was escorted to the shower where he was decontaminated from chemical agent and assessed by
 medical staff. After medical staff cleared I/M Elmassri for RHU placement he was escorted from Charlie unit to
 RHU where a routine RHU strip search was conducted which resulted in negative findings. I/M Elmassri was
 secured in Foxtrot center 1 cell without further incident. *END OF REPORT*




                                              •
Reporting employee signature: alli                0/‘ u    -                      Title: Correction Officer

Report date:   11/26/15          Report time: 5:00        ❑am      pm          Type:    0 Individual ❑ Summary
                         Case 3:18-cv-01249-CSH Document 1 Filed 07/26/18 Page 25 of 45

                    (                Incident Report Supplemental Pale
                                                                  -                                                         CN 6601/3
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    Report Number. tAlrAcc_..2co ts _ t ► ....oss                                          Page           ?           of     /   1
    Elcility/Unit t,iit_k-cc....                                         ❑ Parole Office/Unit       1.1 (.1:k
    Date:
             et/(c5-                Time: 11,, (0 ❑ am                   Incident Class: ❑ 1 ii'l 2     ❑       3     Type: E.-
    Incident Location:        O izuv. f.        e.,     a ;4--: C                  e - bicy Voo vv- ,
 Prepared By: MEM C--) 1/                                                 Title:     a 0
 Narrative: •                                                                                   l
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Reporting Employee Signature:                allff             1                           Title:2,/d- •
            Date:       cliu Ii c            Reportrt Tim e: Z.05 ❑ am                  Type:        .Indiviclual ■ Summary
                                Case 3:18-cv-01249-CSH Document 1 Filed 07/26/18 Page 26 of 45



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                               incident   Report— Supplemental Fa_g_e___ _
                                  - Cdriniktiout Department of Correction
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                                                                                                      Page          s             of        i
    Report Number. ilvkc.,c,-go ts .., i l —05

    Q Facility/Unit kAk (___CC ._                                                     Parole Office/Unit        1,...‘ Ak

    Date: I i       pd         15        Time: ti :10 0 am            El pm        Incident Giese: ❑ 1 M 2          03            'Type: g

    Incident Location: av lor.‘ i 0_, Lt..,1 ,-.)r- ce:esire_r_ o c.‘4.1r.z,                                  dv.

    Prepared By:                                                                     Trtle:     •
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    Narrative:                                                                                                                                  •
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    Reporting Employee Signature: 11111                                            11.          c i,r\ Title                  0

    Report Date: II                 I1             Report Time: . k_v. .., ❑ am Varn                  Type:              Inglivicivai a .Summary _
                            Case 3:18-cv-01249-CSH Document 1 Filed 07/26/18 Page 27 of 45

                                         Incident Report Supplemental Page                                                                      c 6601/3
                                                                 ecticut Department of Correction                                             REV 7/20115

     Report Number: t∎A                 C               (Sf                                                    Page       q             of
     ig Facility/Unit                 14CC                                                Parole Office/Unit
     Date:I                            Time:          1;;•        ❑ am      121 pm
              1   1 PIC, 1I f 5                                                        Incident Class: 0 1® 2 ❑ 3 'Type: 4--

  incident Location: cincx-
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  PrePared                                                       2cm).--tiAL                              /0
  Narrative:                                          020                            s o ,a,p,
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Reporting Employee Signature:                  11111111,                                                   Title:

Report Date: ///-2 ///                        Report Time: '7'"2-0 am fE-Pin-                         Type: R'j _Individual ❑ .summary _
                       Case 3:18-cv-01249-CSH Document 1 Filed 07/26/18 Page 28 of 45


                                   Incident Report — Supplemental Page                                     CN 6601/3
   -   .7.
         -    :,..-                      Connecticut Department of Correction                             REV 7/20/15


 Report Number: /....1, (14.C°C—pt5 - I 1 -         (055                         Page i 0            of       I/

 ► Facility/Unit: NHCCC                                     ❑ Parole Office/Unit: Charlie unit 1.4,/A

 Date:11/26/15                   Time:4:10     ❑ am .0 pm   Incident Class: ❑ 1      g   2 ❑ 3      Type: "--

 Incident Location: Charlie Unit Center Dayroom

 Prepared By: Harris,                                         Title:   Correction Officer
 Narrative:
           On Thursday November 26, 2015 at approximately 4:10 pm, I Officer Harris, second floor rover,
 responded to a Code."' in Charlie Unit center dayroom, as this Officer enter the dayroom, inmate Elmassri
#290729 and inmate Casanova, Adomo-Nelson #406405 were fighting, commands and direction was given by
supervisor (lieutenants), and then chemical agent was deployed, inmates separated and I directed inmate
Casanova to lay on the floor and place his hands behind his back, he complied at which point Lieutenant
Cacioli handcuffed him, the nurse came over and examine him and cleared him for Seg, and under the
supervision of lieutenant Cacioli and assisted staff, and while maintaining his left side, we escorted the inmate
to RHU, he was placed in the shower for decontamination and then escorted giThis officer conducted a strip
search without incident and exited the cell




Reporting Employee Signatur=                                                    Title: Correction officer

Report Date:          11/26/15           . - s Time: 4:10   am /1 pm         Type:    4 Individual ❑ Summary
                  Case 3:18-cv-01249-CSH Document 1 Filed 07/26/18 Page 29 of 45


                               Incident Report — Supplemental Page                                                  CN 6601/3
                                    Connecticut Department of Correction                                           REV 7/20/15


 Report Number: 1,..sk trNee....., ?0:v 1 s_ 1
                                                 1_ 0
                                                        5   5                      Page           1I          of

  Facility/Unit: .,..w.k cc_                                    ❑ Parole Office/Unit:        ks   tA
 Date: 11/26/15            Time: 4:10      pm                   Incident Class: ❑ 1 ri!, 2 ❑ 3               Type:   a."—.
 Incident Location: Charlie Unit Center Dayroom

 Prepared By: McGivney,                                          Title: Correction Officer
 Narrative:
      On November 26, 2015 at approximately 4:10 pm I, Officer McGivney responded to a Code.              in Charlie
 Unit center dayroom. I arrived on the scene to find staff intervening in an altercation between inmate Emassri,
Andrew #290729 and inmate Casanova-Adomo, Nelson #406405. Staff gave verbal direction to separate and
both inmates did not comply and chemical agent was utilized. This officer secured the right side of inmate
Elmassri after he was placed in restraints by staff. I was then directed by Lt. Lewis to escort inmate Elmassri to
the shower where he was decontaminated from chemical agent and assessed by medical staff. Medical staff
then cleared inmate Elmassri for RHU placement and was escorted from Charlie Unit to RHU where a routine
strip search was conducted which resulted in negative findings. Inmate Elmassri was secured in Foxtrot Center
       without further incident. *END OF REPORT*




Reporting Employee Signature:    Allp-tV                                          Title   16-tetc17    „.,    t:P/c,   k•cet.
Report Date:11/26/2015           Report Time: 1100          Pm                 Type: Z Individual ❑ Summary
                   Case 3:18-cv-01249-CSH Document 1 Filed 07/26/18 Page 30 of 45



                                 Incident Summary Report (1, 2 and 3)                                                  CN 6604
                                       Connecticut Department of Correction                                         REV 7/20/1


 0 Facility/Unit: NHCC                                             ❑ Parole Office/Unit: N/A

Date: 11/26/2015                     Time: 4:10              ❑ am ►■ pm         Report number: NHCC-2015-11-055

 Incident class: ❑ 1 ►.. 2 ❑ 3             Type: E           Incident location: Charlie Unit Center Dayroon
Staff involved: Lt.        Cacioli, Lt. IIIIIIMIle Lewis, Lt.        Williams, Officers
WOO Corley,MINIMazzonna, illMON P at t e rs o n 1.111111. McGivney, - Hebert, RN MIS
                                                                                          am Streat, OM/Harris,
Goode and RN
Inmate() involved, with inmate number(s): Casanova, Nelson #406405 and Elmassri, Andrew #406405
Synopsis:
    •   At 4:10pm Inmates Casanova and Elmassrl observed exchanging dosed fist strikes during the PM feeding in the Charlie Unit
        Center Dayroom, unit officer calls a Codeallivia her hand held radio.
    •   Responding staff arrives and gives multiple direct verbal orders to stop fighting, which the inmates fall to comply with.
    •   Chemical agent is deployed, which fails to cease their combative actions.
    •   Chemical agent is deployed a second time which causes the Inmates to stop fighting.
    •   Restraints area applied and the inmates are decontaminated, cleared by medical and secured in RHU.
    •   Both inmates declined to press outside charges.
    •   Both Inmates Issued class "A" disciplinary reports for fighting.
    •   Both Inmates claim the other inmate threw the first punch.
    •   No staff Injuries reported.
    •   Inmate Elmassrl sustained a superficial laceration under his right eye, inmate Casanova had no injuries noted.


Description of staff injuries: None
Description of inmate injuries: Elmassri superficial laceration under his right eye
Use of chemical agent :                        Yes ❑ No           Use of force:        El Yes ❑ No
Disciplinary report issued:                ED Yes ❑ No
                                                                  Offense(s): Class "A" Fighting (both inmates)
Video/photo secured:                       El Yes ❑ No
Community alert system activated:          ❑ Yes E] No                                   Date/Time: N/A
Description of contraband or weapon(s): None                                             Date/Time: N/A
                                             CHAIN OF COMMAND CONTACTS
Duty Officer: Deputy Warden       a Marmora                                              Date/Time: 11/26/2015 5:50pm
Unit Administrator:                                                                      Date/Time:
District Administrator:                                                                  Date/Time:
Deputy Commissioner:                                                                     Date/Time:
Commissioner:                                                                            Date/Time:
                                             OTHER NECESSARY CONTACTS
Police/Fire: N/A                                                                         Date/Time:

PIO: N/A                                                                                 Date/Time:

CISRT: N/A                                                                               Date/Time:

Staff signature:          Caci                               Title: Lieutenant                            Date: 11/26/2015
                      Case 3:18-cv-01249-CSH Document 1 Filed 07/26/18 Page 31 of 45


   HR006 Rev. 08/11
   CONNECTICUT DEPARTMENT OF CORRECTION                               INMATE NUMBER                               DATE OF BIRTH
   UNIVERSITY OF CONNECTICUT HEALTH CENTER                                             Zoo 7Z 9
                                                                      INMATE NAME (LAST, FIRST, INITIAL)
                                                                                                                             7thert
   CORRECTIONAL MANAGED HEALTH CARE
                                                                                                 149A/A           ".-4"✓
                                                                      SEX           RACE/E                        FACILITY
                                                                                                                  FA
   HEALTH EVALUATION FOR RESTRICTIVE
   HOUSING UNIT (RHU) PLACENtENT                                                                                  4/,40c,-.             •


 Custody Notification (date& time)•                 // l 26/i         9A
 Start date & time of Segregation/RHU .         /    /2d //tr"      //AA
21nmate Evaluation
1:EfHealth Record Review

 r--- No Contraindications for Placement (describe)




El Contraindications for Placement (describe)




EI2V
   No Special Accommodations
El Special Accommodations (describe)




Health Staff Si       re, titl date and time:

                                                        "4-Por.4W,7: ,r72e-4 s--. 491,Pc.-


                                        c



Received by CDOC Staff (Name)                            1—ire:S                                           I ate/Tune             CV "1(7
                                                Print                         Signature

Copies of this form are given to the custody supervisor and placed in the medical record.
                   Case 3:18-cv-01249-CSH Document 1 Filed 07/26/18 Page 32 of 45
                                                                   I Nk        01%..1 t -2 k -- L,,, •>
                                                                                                                         I
                              Restrictive          ousing Unit Status Order                                 CN 9401/1
                                        Connectic t Department of Correction                               REV 6/7/1::

 Facility/Unit:     NHCC

 Inmate name:       Elmassri, Andrew                                          Inmate number.      290729

                                                SECTION 1 - STATUS
                  Placement In Restrictive Housing Unit (check and date the appropriate description).
 ❑       Transfer Detention                                                         Date:
  II     Administrative Detention                                                   Date:    11/26/2015
         Punitive Segregation                                                       Date:
 ❑       Administrative Segregation                                                 Date:
 ❑      Administrative Segregation Transition                                       Date:
 ❑       Special Needs Management                                                   Date:
         Chronic Discipline                                                         Date:
                                    SECTION Zs- REASON FOR PLACEMENT
The inmate's/my continued presence in the general population poses a serious threat to life, property, self, other
inmates, and/or the security of the facility because: Inmate Elmassri, Andrew #290729 is being placed in
Restrictive Housing pending a class 'A" disciplinary report for fighting.




Supervisor signature:      Lieutenant   acioli/ /                                   Date:    11/26/2015
                                                  t
                                                /
Inmate given copy of this form:.    Time:     ''0               ❑ am       CI pm    Date:    11/26/2015
                        Case 3:18-cv-01249-CSH Document 1 Filed 07/26/18 Page 33 of 45


             ,.,                                      Disciplinary Report                                             CN 9503/1
              .. 3, 0                           Connecticut Department of Correction                                 Rev.3/15/14
     -.:-.

 Facility/Unit: NHCCC                                                                      Report date: 11/26/2015

 Inmate name: Elmassri, Andrew                                                             Inmate number: 290729

 Housing unit: C-C-2                               Location of incident: Charlie Center Dayroom

 Report number:                                    Incident date: 11/26/15           Incident time: 4:10        ❑ am       ‘4 pm
 Offense: Fighting                                                                         Offense class:       A    ❑B     ❑C
 Description of violation: On November 26, 2015, at approximately 4:10 pm, inmate Elmassri, Andrew #290729,
 was witnessed by this reporting officer fighting In the Charlie center dayroom. Inmate Elmassri was seen closed
 fist striking another Inmate in the dayroom multiple times, and did not stop until chemical agent was deployed.
 As a result, a class "A" ticket is being issued to inmate Elmassri.




Witness(es):



Physical evidence:



Reporting employee (print): Streat                                                             Title: Correction Officer
                                                                                     •
Reporting employee (signature
Date: 11/26/2015                        Time: 5:10           ❑ am.       I pm       Employee requests copy:         yes    ❑ no
                                          CUSTODY SUPERVISOR / UNIT MANAGER REVIEW
[Administrative Detention                                Date: " t2ce        /1 5          Time: 55    - 0,     ❑   am wpm
❑ Accused inmate interviewed                             ❑    Informal disposition
Custody Supervisor / Unit Manager name (print :                              CD (i al
Custody Supervisor / Unit Manager signatur

Title:       L7                                            ate:   1I   Ac. b s_            Time: s5c,          ❑ am Alpm
                                                           INMATE NOTICE
Delivered by (print): MC 6.1v/447                                      Delivered by (signature)6
                                  jig
Title:64/led)           an   0 se.r."?.....ea
                                                         Date:    /./ 46 /41,              Time: /,:p a        ❑ am        a pm
   Case 3:18-cv-01249-CSH Document 1 Filed 07/26/18 Page 34 of 45



                                                Incident Report Number:   C        (S—((—c7 SS



           Connecticut Department of Correction ,
         New Haven Community Correction Center
               Waiver of Criminal Charges


I, alfh c-ss ' 1 sifr".3e) -0 ? do hereby decline to file criminal charges
                        (N114.9
against&Inatc)                  1/4:)&lie'S as a result of an incident which
                 (Lamle)        (Number)
occurred on       ►   26, -S"        .I understand that I am signing this waiver
                       (Dale
without duress, threat or promise. I also understand that, if in the future, I               ee


decide to alter my decision and request criminal:charges be filed, that I must
contact the appropriate authorities. •


Inmate Signature:                                         Date: /7- Z6"
Staff Witness:                                            Date: — g-u2-

Shift Supervisor:                                         Date: p---,26--/
                                                  Case 3:18-cv-01249-CSH Document 1 Filed 07/26/18 Page 35-of 45                                                                       I —               c=>55"
                                                              Inmate Property Inventory Form (Male)                                                                                                       CN 61001
                                                                        Connecticut Department of Correction                                                                                            REV 6/28/10

Facility:   NI twa,                                                      Unit:             'rocit.vo        A.                         Date: It*      a (g A S
                                                                                                                                                          ■                  lime:                     ❑ am        ❑ pm

Inmate Name (print):        OINAcctz, t i .4,tA1ittAl                    Inmate Number ,;1-91 -0 -1 'Zci                               Employee (print):           k_kcory 1
Purpose of inventory:           ❑ Admission            JS[ Restrictive Housing                0 Transfer             ❑ Discharge       ❑ Other (specify):
PROPERTY MATRDURUNNING INVENTORY (disposition codes): C = contraband; 0 = donated; M = mailed; R = retained by inmate; S = stored; and V = visit
               Item                       Descri 'on           Dis.                               Item                  Descri 'on               Di                          Item               Descri 'on           D'
                        i ,. :.1,1,..61,If.
         baseball cap                                                         adapter                                                                               address book
         bathrobe                                                             antenna                                                                               * cassette tapes
         coat                                                             /   aeardetrirreM                      Meth t 1-u -StNat         Pt)                /     ' compact discs
         gym shorts                                                           book lamp                                                                             combo lock
         pajamas                                                              calculator                                                                            extension cord
         pants                                                            4!- cassetteplayer                                                                        eyeglasses
         shirt                                                            /   cd player                                                                             headband
  ,.;    socks                                                             / dock                                                                                   kufti
   /     sweatpants                                                           coaxial cable                                                                    /    photo album
  I      sweatshirt                                                           converter box                                                                   / .   Billow
         thermals                                                         /   eleefillrWri                       -1-t- la, yt                                 /     prayer rug
         t-shirts                                                             fan                                                                                   tams
        'underpants                                                           head phones                                                                           towel
                                                                              radio                                                                                 video games
                                                                           / television                                                                             washcloth
                                                                              video console                                                                         yarmulke
                                                                           2.              Mt-N-0 it                                                          I      ‘10-'r Pest-
                                                                                                            -                                             * No more than 20 total     - any combination of tape and/or cd

         boots/shoes                                                                       religious article                                                  1    cr4;e4te,
  /      shower shoes                                                                      watch                                                              )3     eige- r
         slippers                                                                          wedding ring
  /      sneakers                                                               WW1            1   edye .
I state that (1) no retained kern of jewelry or religious artifact is valued at more than $50.00 and no retained wedding ring or set is valued at more than $200.00, (2) no retained item                    of dothing or
footwear is valued at more than $100.00 and that (3) this inventory is correct and all property accounted for.                                            —

 Inmate Signatureity                                   ...„,„_,__________3____                                   Staff Witness Signatu

       PROPERTY MATRDURUNNING INVENTORY ADDITIONS OR DELETIONS - Items received through the mail, a                                                   ikp_riss -             arrivalgtan -be-entered   in this section.
                                                                           r.ii   .           Inmate       Staff                                                                                        Inmate       Staff
   Date       Qty              Item                    Description                                                        Date       Qty                                                       Disp.      . .
                                                                           --         P"      Initials    Initials                                                                                      Initials    Initials




                                                                                                                                •
 Distribution: inmate, central property file, and inmate's property bag/box (as appropriate) — additional copies for Department purposes shall be provided as needed via photocopying
                          Case 3:18-cv-01249-CSH Document 1 Filed 07/26/18 Page 36 of 45


              ..                              Contraband/Physical Evidence Tag
                                                                                                                                                       CN 6901
                                                         and Chain of Custody                                                          .             REV 8/15/1 4
                                                     Connecticut Department of Correction
 (Facility/Unit :
                                            4/ - C                          ■ Parole Office:___ ___ __ _                _ ____ __

 Unit Tracking Number                   it/i4C6 'VI y) .--f     -   &Ziff   Incident Report Number//e                      --.Z0/11,...,,ck-,-c
                                                         Classification of Physical Evidence
 ❑ • Weapon                  ❑ Drug/drug paraphernalia               III Alcohol (commercial or home made)
 ■   Appliance (e.g., television, radio, stereo, recorder, mp3 player, etc.)
 ■   Currency (money or other commodity of exchange)
 ■   Clothing                ❑ Cellular/Digital Device                      ■
                                                                          Miscellaneous property
 ❑ Other (describe)
 Et/Written record, video tape, digital image, photograph or audio recording                                                                 •
                                               Evidence to be preserved for possible action as follows:                                          •
     Administrative                                                ] ❑ Criminal .      .
 Brief description of item or substance and any identifying mark(s):           .ems, 4ctic.c.„
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Ar4001,05 t4 wc..S ,,...vol..uv.._4. At c... co82-1111. 111 Cka-Lee.. ( ,er- c,/-tw,.7 tvi-tt, 1-ivacic.... c-tt,sgt_;
-4- Alk ,te-L1 49,4or?§)-(f ki.i .e-SO41-- .zt. Trom GLrLie_+0 t-t1-4-t-i'.-4-ki e_ irt:D,br ;tx5, . .1 fk.e-^1• (2- COhsr riqcoeL,,.;,...t.,.4
 - 1- can k -.., - - ,t6,,,RN--- dk.,.(z_JI0 cklkicr-i- -qz.76 k hi (Ase-d. (APt‘ cr"Plet&,d• ''''' 4--e- Ga4 seScor-Lci 4.o
ck-OX C2ftzker4V06 CP--LL. SATigc-z-0 -4                  6'20.A.K.4( (41141tOCA i-Lr'll-er--. (AC ir. ° 1C+. 49 1r1 t'F. /von'
 Location found/confiscated:                                                                                                    .

 By (staff name):V\k                  ir\   wain           all                         Date:// AV/5-                   Time:          cipb           NAM [05-ii

 From (Inmate name):
                             CA Sgo,NvA i /JR, J.4.{.,
                                                                                                    Inmate number 1/4 )                    ,0,5-
                                              Chain of custody - physical evidence (signature required)

Staff from:        vv...___. )tit \                             ,..c._                Date:// 67_6 if                  lime:         --,                       P

Staff
       L 1" Cc,c_i oL\
        to:
                                                                                      Date:Vg i is                     lime:         --,, ! AM
Reason: Ev 3c...4c....e.                          if                            Disposition:   1...e...‘i I. es__,A,

Staff from:         oaci ( 4                11111111                                  Date:            / --
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                                                        V.----
Staff to:      vi     6e. 0 si_t, c-cuj e..                   3,0 X.
                                                                                      Date:    1i   t.,c,„1/ 5-        Time: 1. 0;1.5                 AM 215 M

Reason:                                                                         Disposition:

Staff from:                                                                           Date:                            Time:                         RAM ❑PM

Staff to:                                                                             Date:                            Time:                         •AM •PM

Reason:                                                                         Disposition:
                                                                                                                   •        -                              ,
Staff from:-                     •                                                    Date:                            Time:                         ■ AM a PM
Staff to:                                                                   .         Date:                            Time:                         RAM •PM


Reason:                                                                         Disposition:
                       Case 3:18-cv-01249-CSH Document 1 Filed 07/26/18 Page 37 of 45


                                      Contraband/Physical Evidence Tag
                                                                                                                                              CN 9061
                                                   and Chain of Custody                                                                    REV 8/15/1 4
       ., ri-,,,,r
      1V    -,Iir
                                            Connecticut Department of Correction
  gj Facility/Unit: t4b_kac_                                                     ❑ Parole Office:____UN                  __ __

  Unit Tracking Number: t4tjtc.c. ,..1. to _ v549.201 4                          Incident Report Number: 1,4      ckez. _ a,.._ j t — 0 SS
                                                   Classification of Physical Evidence

  ❑    Weapon                 ❑ Drug/drug paraphernalia                ❑ Alcohol (commercial or home made)
  ❑    Appliance (e.g., television, radio, stereo, recorder, mp3 player, etc.)
                                                                                                                                                    •
  ❑    Currency (money or other commodity of exchange)
  ❑    Clothing               ❑ Cellular/Digital Device                ❑ Miscellaneous property
 ❑
 2 /   ptirL5r(describe)
       Written record, video tape, digital image, photograph or audio recording                                                      .
                                       Evidence to be preserved for possible action as follows:
- (Administrative                                                     Criminal‘
  Brief description of item or substance and any identifying mark(s):     Z— ,./.71.4e,e-e..__          E.G. eV.* $ 51 i , /4-Vd-r 4. ,..../
 ag     0 7,11             dope.    an"        ,7-,-,/         Corifrn4e...            ee.n/7464..     /741.....4,0,,,...,  it / ,tg /,             )----




 41            4:io pill.
 Location found/confiscated:     _ k„,__, ,..k—
                                   c lnc.,r-li e

 By (staff name):       NINA 1729-7 2.44„/".;2-                                         Date:   / /2,_ 6 / , r— Time:11000 ❑ AM N44.---

 From (inmate name): ,....4..,,.)..
                                 )9,375,-                        9alee'                             Inmate number:        0,1.3 0 -7)__ 1
                                      Chain of custody - physical evidence (signature required)

 Staff from:                           01/7 Z 741.1M-1----                              Date: //44 (ier-              Time:      V/.3      ❑   AM EtPfGr

Staff to:
                     /2' / '
                                       0.2e/ 1 5                 _.....6         .____ Date: ) / /x A j,..--- Time:                 ,(.72:3AM     p2,‘
Reason:     Ev )d,,e_e                                                     . 7
                                                                                 Disposition:   r      --,   4,. 4)




Staff from:
            L4-. (...e.4.„)1 5                         ....#"/-------                   Date:   1 ( (..za, ti c       Time: 1..0.4 4 ❑ Am Enpui

Staff to: v i cle_..0. .51112 rcie         _   io cr›(--                                Date:   1 i 1244     b5       Time: / c, : I s-•    AM Eif'M

Reason:                                                                          Disposition:

Staff from:                                                '                            Date:                         Time:                ❑AM ❑ PM

Staff to:                                                                               Date:                         Time:              ❑AM ❑ PM

Reason:                                                                          Disposition:

Staff from:                    .                                                        Date:                         Time:              ❑AM - PM

Staff to:                                                                              Date:                          Time:              ❑AM ❑ PM

Reason:                                                                          Disposition:
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                        Use of Force Report                                                                            CN 6501
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  Inmate name Elmassri, Andrew                                                          Inmate number 290729

  Facility/Unit:        NHCCC                                                           Housing unit:    C-C-02

  Type:             I   Individual     ❑ Summary

  Report number: 14%-acc-p.0 NS- L 1 ..css                                  Report date 11/26/2015

  Prepared by: Streat,                                                      Title: Correction Officer

 Date of incident 11-26-2015                                                Time of incident : Li 10         p.m.
 Location of incident:          Charlie Center Dayroom


 Circumstances leading to use of force:
          This Officer witnessed inmate Elmassri, Andrew #290729 in a physical altercation with another
 inmate. Inmate Elmassri was directed multiple times to stop.




Type and extent of force used. This officer witnessed chemical agent being deployed into the Charlie center
dayroom.




Complete (only when appropriate) by staff member If assaulted by Inmate:
Do you feel that the 'nmate            hould be considered for criminal prosecution?           ❑ Yes            Li No
Staff signature:               ft,-)i-, ri

Title:   Correction Officer                                                            Date 11-26-2015

Investigating supervisor signature:                                    0   1 ,00

Title:     1, _--r-                                                                    Date:    1 ( _..,2 co _1.5-
                            Case 3:18-cv-01249-CSH Document 1 Filed 07/26/18 Page 39 of 45


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                                                     Use of Force Report                                          CN 6501
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 Inmate name:                Elmassri, Andrew                                        Inmate number: 290729

 Facility/Unit:             NHCC                                                     Housing unit: Foxtrot center 7

 Type:              ■71 Individual         ❑ Summary

 Report number:               NHCC-2015-11-955                             Report date:     11/26/15

 Prepared by: Hebert,              illip                                   Title: Correction Officer

 Date of incident:             11/26/15                                    Time of incident: 4:10      ❑ a.m.   i1 p.m.
 Location of incident:             Charlie unit center dayroom


Circumstances leading to use of force: On November 26, 2015 at approximately 4:10PM a Code arkwas
announced due to inmates Elmassri, Andrew # 290729 and Casanova-Adorno, Nelson # 406405 being
involved in a physical altercation in Charlie unit center dayroom.



Type and extent of force used (to include any armory items used):
     This officer secured the left side of Inmate Elmassri and assisted staff with placing him in wrist restraints.
Under the direction of Lt. Lewis UM Elmassri was escorted to the shower where he was decontaminated from
chemical agent and assessed by medical staff. After medical staff cleared I/M Elmassri for RHU placement he
was escorted from Charlie unit to RHU where a routine RHU strip search was conducted which resulted in
negative findings. I/M Elmassri was secured in Foxtrot center 1 cell without further incident.




Complete (only when appropriate) by staff member if assaulted by Inmate:
Do you feel that the inmate should be considered for criminal prosecution?                  ❑ Yes
Staff signature:

Title: Correction 0 icer                                                            Date:     11/26/15

Investigating supe             *sor signatur

Title: Lieutenant                                                                   Date:    11/26/15
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                                                    Use of Force Report                                                  CN 6501
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 Inmate name:          Elmassri, Andrew                                                     Inmate number: 290729

 Facility/Unit:       NHCC                                                                  Housing unit: Foxtrot center 7

 Type:        I       Individual     ❑ Summary

 Report number:          NHCC-2015-11 - 055                                       Report date:   11/26/15

 Prepared by: McGivney,                                                           Title: Correction Officer

 Date of incident:        11/26/15                                                Time of incident: 4:10    ❑ a.m.       p.m.
 Location of Incident: Charlie unit center dayroom


Circumstances leading to use of force: On November 26, 2015 at approximately 4:10PM a Code asslwas
announced due to inmates Elmassri, Andrew # 290729 and Casanova-Adorno, Nelson # 406405 being
involved in a physical altercation in Charlie unit center dayroom.



Type and extent of force used (to include any armory items used):
     This officer secured the right side of Inmate Elmassri who was already placed in restraints by staff. Under
the direction of Lt. Lewis I/M Elmassri was escorted to the shower where he was decontaminated from
chemical agent and assessed by medical staff. After medical staff cleared I/M Elmassri for RHU placement he
was escorted from Charlie unit to RHU where a routine RHU strip search was conducted which resulted in
negative findings. I/M Elmassri was secured in Foxtrot center 1 cell without further incident. No other force
was used or witnessed by this officer at any time during the incident.




Complete (only when appropriate) by staff member If assaulted by Inmate:
Do you feel that the inmate should be considered for criminal prosecution?                       ❑ Yes               ❑ No
Staff signature:

Title: Correction Officer                                                                  Date: 11/26/15

Investigating supervisor signature                                  0.-C
                                                                           «l ,

Title: Lieutenant                                                                          Date: 11/26/15
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                                                    Use of Force Report                                                     CN 6501
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                       ' -                   Connecticut Department of Correction                                         REV 4/1/11
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  Inmate name: Elmassri, Andrew                                                              Inmate number: 290729

  Facility/Unit:             New Haven Correctional Center                                   Housing unit: C-C-2

  Type:                 AI Individual   ❑ Summary

  Report number:               NHCC-2015-11-055                                 Report date: 11/26/15

  Prepared by: lapiWilliams                                                     Title:   Lieutenant

  Date of incident: 11/26/15                                                    Time of incident: 4:10           ❑ a.m.    I p.m.
  Location of incident:
  Charlie Center Dayroom

 Circumstances leading to use of force:
 Code IN in Charlie Center Dayroom, I/M's Elmassri, Andrew #406405 and Casanova-Adorno, Nelson
 #406405 were actively engaged in a physical altercation by exchanging closed fist strikes to the upper torso
 area with each other. Both I/M's refused to stop fighting and separate upon several verbal commands given to
 them.




Type and extent of force used (to include any armory items used):
This Lieutenant witnessed I/M's Casanova and Elmassri being sprayed in their facial area with chemical agent
by Lieutenant's gm Lewis and .Cacioli due to non-compliance of several verbal commands to stop
fighting. Both I/M's separated after Chemical Agent was deployed. This Lieutenant with the assistance of C.0
111111111111. Hebert placed wrist restraints on WM Elmassri. Lieutenant Cacioli placed wrist restraints on I/M
Cassanova.




Complete (only when appropriate) by staff member If assaulted by Inmate:
Do you feel that the inmate should be consider                    r criminal prosecution?           ❑ Yes                 No
Staff signature:                 Williams
                                                      4-
                                                       >-.-                -
Title: Lieutenant                                                                           Date:    11/26/15

Investigating supervisor signature:             MI       a /V- CI a- I
                                                              A


Title:                        t..---r                                                       Date:      /1 ..._   6,   is--
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                                             Connecticut Department of Correction                            REV 4/1/11

                                                                                     Inmate number: 290729 and
 Inmate name:        Elmassri, Andrew and Casanova-Adorno, Nelson
                                                                                     406406
                                                                            q
 Facility/Unit: NHCC                                                                 Housing unit: Charlie

 Type:        ❑ Individual          r       Summary

 Report number: NHCC-2015-11-055                                           Report date:   11/26/2015

 Prepared by: imiCacioli                                                   Title: Lieutenant

 Date of incident:      11/26/2015                                         Time of incident: 4:10   ❑ a.m.      p.m.
 Location of incident:      Charlie unit Center Dayroom
 Circumstances leading to use of force: Physical altercation involving inmates Elmassri, Andrew #290729 and
 Casanova-Adorno, Nelson #406406, in which both inmates refused to follow verbal commands to stop fighting.
 _         . . . ..              . .. . . .                       .. ..          . ........ . ..        .......
 I ype ana extent or orce use o Include any armory Items used): Lieutenants                                    lams
 and Lewis gave multiple loud concise verbal commands to inmates Elmassri and Casanova-Adorno to
 stop fighting. Neither inmate followed the commands. Lieutenant Lewis deployed chemical agent (111111Mili
alla) through the dayroom trap, which did not cause the inmates to stop fighting. As the dayroom sliding door
 opened, all three supervisors continued to give loud concise verbal commands to stop fighting. Neither Inmate
followed the commands. Lieutenant Lewis and Lieutenant Cacioli deployed chemical agent
to the facial area of both inmates, which caused them to stop fighting. Both inmates were directed to               e
dayroom floor. I applied handcuffs to inmate Casanova-Adorno. Officer UM Harris takes an escort
position on the inmates left hand side with Officers Corley on the inmate right hand side. Officer Harris
removes the handcuffs and conducts a routine strip search.
Lieutanant Williams, with the assistance of Officer -Hebert, applied handcuffs on inmate Elmassri.
Lieutenant Williams directs Officer Hebert andaiiilleMcGivney to escort the inmate out of the dayroom to
the center corridor. He is relieved by Lieutenant Lewis due to chemical agent exposure. Lieutenant Lewis
directs staff to the center corridor shower for decontamination. Officer Hebert (left side) and Officer McGivney
(right side) escorted the inmate. Officer Hebert removes the handcuffs and conducts a routine strip search.




Complete (only when appropriate) by staff      be     sauited by Inmate:
Do you feel that the inmate shoee•ered for criminal prosecution?                            ❑ Yes        ❑ No
Staff signature: amsCacioll

Title: Lieutenant                                                                   Date: 11/26/2015

Investigating supervisor signature:

Title:                                                                              Date:
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     Inmate name:          Elmassri, Andrew and Casanova-Adorno, Nelson                           Inmate number: 290729 / 406405

     Facility/Unit:      New Haven Correctional Center                                            Housing unit:       Charlie Unit

     Type:           ►   Individual     ❑ Summary

     Report number:             NHCC-2015-1.1-055                                      Report date:      11/26/2015

     Prepared by: 4111111111111Lewis                                                   Title: Lieutenant

     Date of incident:          11/26/2015                                             Time of incident: 4:10     ❑ a.m.        A.   p.m.
     Location of incident:         Charlie Unit center dayroom

    Circumstances leading to use of force: A Code la in Charlie Unit center dayroom. Inmates Casanova-
    Adorno, Nelson #406405 and Elmassrl, Andrew #290729 were actively engaged in a physical altercation
    both throwing closed fist punches. Inmates Elmassri and Casanova-Adorno refused to comply with all verbal
    directions to cease their actions and stop fighting. Chemical agent (              was deployed by to their
    facial area and they continued their combative behavior. Chemical agent was deployed again to their facial
    area and achieved its desired affect.




    Type and extent of force used (to include any armory items used): This writer deployed chemical agent
    111/1/111111111. through the dayroom trap to their facial areas of inmates Casanova-Adorno and Elmassri,
    but it did not stop either inmate's actions. This writer and Lieutenant alleCacioli deployed chemical agent
    again. At this time, the chemical agent achieved its desired affect and both inmates Elmassri and Casanova-
    Adorno ceased their combative actions. Lieutenant Cacioli placed wrist restraints on inmate Casanova-Adorno
    and Lieutenant Williams and Officer                Hebert placed wrist restraints on inmate Elmassri and Officer
    Hebert assumed control of his left side. Officers Hebert and111.11111McGivney escorted inmate Elmassri to
    center corridor shower in Charlie Unit to be decontaminated. Inmate Elmassri was escorted to RHU and into
    FC-01. Officer Hebert removed the wrist restraints and conducted a routine RHU strip search, which resulted in
    zero findings. This writer directed Officers Hebert and McGivney to exit the cell. Inmate Elmassri was secured
    in FC-01 without further incident. No further force was used or witnessed by this writer.




    Complete (only when appropriate) by staff member If assaulted by Inmate:
    Do you feel that the inmate should be considered for criminal •rosecution?                           ❑ Yes              ❑ No
    Staff signature: anaLewis
                                                               _.....----
    Title: Lieutenant                                                                            Date:     11/26/2015

    Investigating supervisor signature.                                cl.c;,,-c. (2

    Title:                                                                                       Date:       i t /2045
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                                                     Interview Statement                                                    CN 11002/1
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 Facility/Unit: (.4(ricc_                                                                                 I Page      i   of /
                                                      *29,07.9.
 Name:     El mc(55 ri                   pt (-)61---1/44,..,                             Date of birth:     G•I ic •-*7 I Si{

 Interviewee status:           ❑    Employee                  Inmate         Position:     —.

 Gender:      me A e_               Race:       k4in A-e__■                              Case number: 1,skacc„....24,cs— cc --
 Previously interviewed:            ❑ yes       NI   no

 Nature of interview: C4.2.0k c.             am
The following statement is made without threat or promise, of any benefits to me. I have submitted and read this
statement and it is true to the best of my knowledge.
 Interviewee signature: Y                            _                       —                      Date: /i-      e 6 -Vs—
Investigator:            L-T- _ C 0/.....1 19                                                       Time:      (0., 0 S i  ,,n




 Statement:

                           5 G✓OIli         d-        we               ...        5 WO i/tj L;Ctl d/L_




Investigator:        __--r 0,,,c,c,o di
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